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   8                       UNITED STATES DISTRICT COURT
   9                     CENTRAL DISTRICT OF CALIFORNIA
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  11    JULIO BALVANEDA,                        Case No. 2:21-cv-01254-JWH (AFM)

  12                      Plaintiff,

  13          v.                                 JUDGMENT

  14    ADELANTO ICE DETENTION
        FACILITY, et al.,
  15
                          Defendants.
  16

  17         Pursuant to the Court’s Order Accepting the Report and Recommendation of
  18   the United States Magistrate Judge,
  19         It is hereby ORDERED, ADJUDGED, and DECREED that the action is
  20   DISMISSED without prejudice for failure to prosecute.
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  22   DATED: September 30, 2021
  23                                         ____________________________________
                                                    JOHN W. HOLCOMB
  24                                           UNITED STATES DISTRICT JUDGE
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